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The Court is in receipt of Plaintiff's request for assistance litigating
his case. (Dkt. #22). The Court invites Plaintiff to make a request for
pro bono counsel. Enclosed is information about requesting pro bono
counsel and the form Plaintiff must complete to make this request.

In determining whether to grant Plaintiff’s application, the Court will
consider such factors as whether the litigant’s claim “seems likely to be
of substance,” as well as "the indigent’s ability to investigate the
crucial facts, whether conflicting evidence implicating the need for cross-
examination will be the major proof presented to the fact finder, the
indigent’s ability to present the case, the complexity of the legal
issues[,] and any special reason in that case why appointment of counsel
would be more likely to lead to a just determination." Hodge v. Police
Officers, 802 F.2d 58, 60–61 (2d Cir. 1986).

The Court advises Plaintiff that there are no funds to retain counsel in
civil cases and the Court relies on volunteers. Even if Plaintiff’s
request for pro bono counsel is granted, there is no guarantee that a
volunteer attorney will decide to take the case, and Plaintiff should be
prepared to proceed with the case pro se.

The Clerk of Court is directed to mail a copy of this Order to:
     Mark McKinley
     DIN No. 18A3270
     Marcy Correctional Facility
     P.O. Box 5000
     Elmira, NY 13403

Dated:    September 18, 2020            SO ORDERED.
          New York, New York



                                        HON. KATHERINE POLK FAILLA
                                        UNITED STATES DISTRICT JUDGE
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                                                 PRO SE OFFICE
                             UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF NEW YORK
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  Ruby J. Krajick
  CLERK OF COU RT



                 INFORMATION REGARDING PRO BONO (VOLUNTEER ) COUNSEL

         The Sixth Amendment of the United States Constitution guarantees free legal representation
only to persons who have been charged with a crime. The Sixth Amendment guarantee, however,
does not extend to persons involved in civil cases. If you are unable to obtain a lawyer to represent
you in a civil case pending in federal district court, you may submit an application to the Court to
request that a volunteer lawyer represent you for free. Lawyers who volunteer to represent pro se
litigants without charging fees are called pro bono lawyers. Pro bono means “for the public good.”
The Pro Se Office is responsible for managing the group of lawyers who volunteer to represent pro
se litigants in the Southern District of New York for free. This group is known as the Pro Bono
Panel.

When to Apply for Pro Bono Counsel

         A pro se litigant may ask the Court for pro bono counsel at any time. The application for
counsel may be submitted with the initial complaint at the beginning of the case, immediately before
trial or anytime in between. Applications submitted with the initial complaint, however, may be
denied without prejudice to filing a new application once the case proceeds a little further          for
instance, after the defendants are served with the summons and complaint and have either answered
the complaint or moved to dismiss the action.

How to Apply for Pro Bono Counsel

         To apply for pro bono counsel, you must complete an Application for the Court to Request
Counsel. If you paid the filing fee for your case or your financial status has changed since you were
granted In Forma Pauperis status, you must also submit a new Request to Proceed In Forma
Pauperis. If your defendants have already been served with the summons and complaint, you must
send them a copy of your Application for the Court to Request Counsel and, if appropriate, the
supporting Request to Proceed In Forma Pauperis before filing your papers with an accompanying
Affirmation of Service with the Pro Se Office. If you are a defendant, you must mail a copy of your
papers to the plaintiff or his/her lawyer before filing your papers with an accompanying Affirmation
of Service with the Pro Se Office.
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        Inmates who have filed a Petition for a Writ of Habeas Corpus and who seek free counsel
should complete and file the Application for Appointment of Counsel pursuant to 18 U.S.C.
§ 3006A(g) (habeas corpus petition). In such cases, the Criminal Justice Act permits the Court to
appoint free counsel for indigent habeas corpus petitioners. Such appointments are made from the
Criminal Justice Act Panel of this Court, not the Pro Bono Panel.

The Decision to Grant or Deny Counsel

        The decision to grant or deny counsel is within the judge’s discretion. Factors that the judge
may consider when reviewing an application are the complexity of the issues and facts in the case,
the type and extent of discovery involved in the case, the complexity of the motions filed in the case,
the ability of the litigant to represent himself/herself, the education of the litigant, the ability for the
litigant to communicate in English, and the efforts that the litigant has made to obtain a lawyer. If
the judge denies your Application without prejudice to renewal, you may file a new application for
the Court to Request Counsel at a later date. You should read the judge’s decision carefully as it
may provide some guidance as to why the application was denied and what circumstances must
change before a new application may be granted. If your Application is granted you should notify
the Pro Se Office immediately.

What happens when an Application for the Court to Request Counsel is granted?

        If the Court grants your Application, you should contact the Pro Se Office immediately. The
Pro Se Office will then attempt to find a lawyer to volunteer to represent you. The Pro Se Office
cannot assign a case to a lawyer or require a lawyer to take a case. Pro bono lawyers take cases on
a strictly volunteer basis once an Application is granted. Therefore, even when an Application is
granted, there is no guarantee that a lawyer will take your case.

        The process for finding a pro bono lawyer is often lengthy. Lawyers reviewing your case
may choose to contact you to interview you or to discuss your case or they may choose to accept
your case without first communicating with you. If a lawyer decides to take your case, you will be
notified by mail and the lawyer will file a Notice of Appearance with the Court. The lawyer may
ask you to sign a retainer agreement that will set forth the terms and limits of the representation.
Unless and until a lawyer volunteers to represent you, or if no lawyer volunteers to represent you,
you are responsible for handling your litigation. If you fail to prosecute your case while the Pro Se
Office is attempting to locate a lawyer for you, the judge may dismiss your case.
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       You have the right to withdraw your Application for the Court to Request Counsel and to
continue to proceed pro se at any time. If you choose to do so, you must make the request to the
judge by writing a letter to Court. Remember to send a copy of the letter to the other parties first
and attach a completed Affirmation of Service to the letter you send to the Pro Se Office. Upon
receipt, the Pro Se Office will forward the letter to the judge. If the judge grants your request, your
case will be removed from consideration by the Pro Bono Panel and you will proceed pro se.

Can pro bono lawyers get attorneys fees and costs?

       Many civil rights laws permit a lawyer to file an application to the Court for an attorneys’
fee award if the litigant won the case. If granted, the lawyer will receive fees directly from the
losing party. Such an award can also include out-of-pocket costs incurred by the lawyer who
represented your case, such as expenses for depositions or trial transcripts. In addition, a pro bono
lawyer may make an application to the Court -- regardless of who won the case and regardless of
the law governing the case -- to have limited out-of-pocket costs reimbursed by a Court fund. You
should always speak with your pro bono lawyer about expectations concerning the lawyer’s fees and
expenses and you should sign a retainer agreement that sets forth these expectations in writing.

Who is on the Court’s Pro Bono Panel and why do the lawyers work for free?

       The Court’s Pro Bono Panel is made up of lawyers primarily from large and small law firms.
The Panel also includes solo practitioners and not-for-profit organizations, as well as a few local law
school clinics, which are supervised by lawyers with extensive federal court experience. The Pro
Se Office is not authorized to provide the identity of any member of the Panel or any information
about the lawyers reviewing your case.

       Under the ethical rules that lawyers must follow, lawyers are encouraged to perform free
legal services for those who are unable to afford it. Lawyers are not required to do pro bono work,
but most lawyers see a great need for pro bono work and take their responsibility seriously. Many
bar associations and law firms now encourage pro bono work by setting policies and providing
support to lawyers who take pro bono cases.

Important Reminders

       Your answers to the questions on the Application for the Court to Request Counsel and the
supporting Request to Proceed In Forma Pauperis must be truthful. There may be penalties for
making false statements, including dismissal of your case.
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        You are responsible for handling your case unless and until a lawyer volunteers to represent
you. You must continue to proceed pro se during the time your Application is pending before the
Court and, if your Application is granted, during the time the Pro Se Office is attempting to locate
a pro bono lawyer for you. For instance, you must have the defendants served with the summons
and complaint and you must follow any schedules or appear at any court proceedings during this
time.




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(List the full name(s) of the plaintiff(s)/petitioner(s).)
                                                                       _____CV__________ (_____) (_____)
                                -against-
                                                                         Application for the Court to
                                                                         Request Pro Bono Counsel


(List the full name(s) of the defendant(s)/respondent(s).)



I ask the Court to request a pro bono attorney to represent me in this action. In support of my
application, I declare under penalty of perjury that the following information is true and correct:

1. Have you previously filed a “Request to Proceed in Forma Pauperis” (an IFP application)?
   Please check the appropriate box below:

           I have previously filed an IFP application in this case, and it is a true and correct
           representation of my current financial status.

           I have not previously filed an IFP application in this case and now attach an original IFP
           application showing my financial status.

           I have previously filed an IFP application in this case, but my financial status has
           changed. I have attached a new IFP application showing my current financial status.

2. Explain why you need an attorney in this case. (Please note that requests for pro bono
   counsel are rarely granted at the early stages of a case and usually not before the Court has
   issued a decision on the merits of the case.) If you asked for an attorney earlier in this case,
   please also explain what has changed since you last asked for an attorney.




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3. Explain what steps you have taken to find an attorney and with what results. (Please identify
   the lawyers, law firms or legal clinics you have contacted and their responses to your
   requests. If you have limited access to the telephone, mail, or other communication methods,
   or if you otherwise have had difficulty contacting attorneys, please explain.)




4. If you need an attorney who speaks a language other than English, state what language(s) you
   speak: ____________________________________________________________.

5. I understand that if an attorney volunteers to represent me and that attorney learns that I can
   afford to pay for an attorney, the attorney may give this information to the Court.

6. I understand that even if the Court grants this application, I will receive pro bono counsel
   only if an attorney volunteers to take my case and that there is no guarantee that an attorney
   will volunteer to represent me.

7. I understand that if my answers on this application or in my IFP application are false, my
   case may be dismissed.


Date                                                    Signature


Name (Last, First, MI)                                                 Prison Identification # (if incarcerated)


Address                                      City                                State        Zip Code


Telephone Number                                        E-mail Address (if available)




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